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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

NICHOLAS CANBY, JOHN COLLINS,             )
GEORGE DEMERTSIDIS, SEAN FENNESSY,        )
MICHAEL FLAHERTY, WALTER FLORES,          )
DANIEL GARITI, JOSHUA KOWALCZYK,          )
JASON LAMBERT, KAREN O’SHEA,              )               JURY DEMANDED
DOMINIC PACINI, DANIEL PAWLOWSKI,         )
HEATHER PEACE, JOHN PETTINGER,            )
LORI TIMOTHY, JOSHUA WISEMAN,             )               Case No.
AMY WRONSKI, and STEVEN ZAMBELLO,         )
On behalf of themselves and all others similarly
                                          )
situated,                                 )
                                          )
          Plaintiffs,                     )
                                          )
          v.                              )
                                          )
CITY OF CHICAGO, a Municipal Corporation, )
                                          )
          Defendant.                      )

                                    COMPLAINT

       NOW COME the Plaintiffs, NICHOLAS CANBY, JOHN COLLINS, GEORGE

DEMERTSIDIS, SEAN FENNESSY, MICHAEL FLAHERTY, WALTER FLORES,

DANIEL GARITI, JOSHUA KOWALCZYK, JASON LAMBERT, KAREN O’SHEA,

DOMINIC      PACINI,     DANIEL      PAWLOWSKI,         HEATHER       PEACE,     JOHN

PETTINGER, LORI TIMOTHY, JOSHUA WISEMAN, AMY WRONSKI, and

STEVEN ZAMBELLO, (hereinafter referred to as “Paramedics”) by and through their

attorneys, JAC A. COTIGUALA and BRIAN D. MASSATT, and bring this action on

behalf of themselves and all others similarly situated, to recover from Defendant unpaid

overtime compensation, liquidated damages, attorneys’ fees, and costs pursuant to the

Fair Labor Standards Act of 1938, as amended, 29 U.S.C. §216(b) (hereinafter “FLSA”).

See Notices of Consent attached hereto as Group Exhibit A.
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       1.      Jurisdiction over Paramedics’ claims is conferred on this Court pursuant to

29 U.S.C. § 216, 28 U.S.C. § 1331 and § 1337.

       2.      Venue is proper pursuant to 29 U.S.C. § 1391 as Defendant, City of

Chicago (“the City”), has its principal place of business and the events giving rise to the

claims occurred within the geographic jurisdiction of this Court.



                                    Count I – FLSA


       Plaintiffs on behalf of themselves, complain against Defendant as follows:

       3.      At all relevant times, the City, has been a public agency, an employer, and

an enterprise “engaged in commerce” as defined by Sections 3(d), (r) (s) and (x) of the

Fair Labor Standards Act, 29 U.S.C §203.

       4.      At all relevant times, The City employed plaintiffs to work as only

paramedics within the Fire Department’s Bureau of Emergency Medical Services, all in

Chicago, Illinois. By virtue of their employment, Paramedics do not qualify for the

overtime exemptions afforded to fire protection employees.          29 U.S.C. §207(k), 29

C.F.R. §553.210.

       5.      Between January 1, 2009 and the present, Paramedics were not paid their

wages at the appropriate rate for all hours worked in excess of 40 during certain work

weeks in which each worked, in violation of the maximum hours provisions of the FLSA,

to wit, 29 U.S.C. 207.

       6.      At all relevant times, Paramedics were “employees” of the City as defined

by Section 3(e) of the FLSA. 29 U.S.C. §203(e).

       7.      The City paid Paramedics an annual salary for their regularly scheduled
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shifts and an overtime payment of 1.5 times the contractual hourly rate for work

performed outside their regularly scheduled shifts.

       8.      The City failed to include all remuneration when calculating Paramedics’

regular rate of pay for FLSA overtime for hours worked in excess of 40 in a week.

       9.      The City paid Paramedics additional remuneration in the form of duty

availability pay.

       10.     The City did not include duty availability pay in calculating Paramedics’

regular rate of pay for FLSA overtime for hours worked in excess of 40 in a week.

       11.     The City paid Paramedics additional remuneration in the form of acting

pay, driving pay, specialty pay and fitness pay.

       12.     The City failed to include acting pay, driving pay, specialty pay or fitness

pay in calculating Paramedics’ regular rate of pay for FLSA overtime for hours worked in

excess of 40 in a week.

       13.     The City failed to properly calculate Paramedics’ weekly remuneration

when calculating plaintiffs’ regular rate of pay for FLSA overtime for hours worked in

excess of 40 in a week.

       14.     The City failed to properly calculate Paramedics’ FLSA overtime for

weeks where Paramedics worked or attended continuing education training outside of

their regularly scheduled shifts.

       15.     A majority, if not every, platoon duty paramedic employee of the City was

not paid overtime in accordance with the FLSA.

       16.     Paramedics’ job duties and terms and conditions of employment, do not

exempt Paramedics from the overtime and minimum wage requirements of the FLSA.


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        WHEREFORE, Paramedics pray that this Court enter judgment in Paramedics’

favor and against the City, and that the City pay to Paramedics:

        a.      The full amount of wages due for all hours worked, and an equal amount

                in liquidated damages plus prejudgment interest as far back as a non-

                willful violation of the FLSA allows;

        b.      Reasonable attorneys’ fees and costs; and

        c.      All other relief that this Court deems necessary and just.



                                Count II – FLSA – WILLFUL

        Paramedics on behalf of themselves, re-allege and restate paragraphs 1-16 above

as if fully set forth herein.



        17.     Between January 1, 2009 and the present, Paramedics were not paid their

wages at the appropriate rate for all hours worked in excess of 40 during certain work

weeks in which each worked, in violation of the maximum hours provisions of the FLSA,

to wit, 29 U.S.C. 207.

        18.     At all times relevant hereto the City either knew or in reckless disregard

should have known that Paramedics performed duties for which they were not paid

overtime, in accordance with the FLSA. The City knew or in reckless disregard should

have known that Paramedics were entitled to overtime compensation under the FLSA.

The City knew or in reckless disregard should have known that it violated and continues

to violate federal law by paying Paramedics less than required by the FLSA for overtime

worked.


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       19.     The City previously resolved an FLSA lawsuit on behalf of paramedics,

Alex v. City of Chicago, 29 F.3d 1235 (7th Cir., 1994). As a result of that lawsuit, the

City was well aware that the overtime provision of the FLSA applies to Paramedics and

that it should make its pay conform with the requirements of the FLSA.

       20.     The City willfully violated the FLSA by failing to pay the appropriate rate

for all hours worked over 40 in a week to Paramedics as required. 29 U.S.C. §201 et.

seq.



       WHEREFORE, Paramedics pray that this Court enter judgment in their favor and

against the City, and that the City pay Paramedics:

       a.      The full amount of wages due for all hours worked, and an equal amount

               in liquidated damages plus prejudgment interest for as far back as a willful

               violation of the FLSA allows;

       b.      Reasonable attorneys’ fees and costs; and

       c.      All other relief that this Court deems necessary and just.

                                               Respectfully submitted,


                                      By:      /s/ Jac A. Cotiguala
                                               One of Paramedics’ Attorneys

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